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                              U. S. COURT OF APPEALS - EIGHTH CIRCUIT
                                         NOA SUPPLEMENT

          Please note any additions or deletions to the style of the case from the style listed on the docket sheet.



Case No. 1:18-cv-222 and 1:16-cv-8             Brakebill, et al v. Jaeger and Spirit Lake Tribe et al v. Jaeger




Length of trial:

                                                                              ✔
Financial Status:        Fee Paid?                                                Yes                No
                         If NO, has IFP been granted?                             Yes                No
                         Is there a pending motion for IFP?                       Yes            ✔   No

Are there any other pending post-judgment motions?                            ✔   Yes                No


Please identify the court reporter:             ✔ No hearings held
       Name:

       Address:

       Telephone Number:

Criminal cases only:
      Is the defendant incarcerated?                Yes LQFOXGHDGGUHVVEHORZ                              No

       Please list all other defendants in this case if there were multiple defendants.




SPECIAL COMMENTS:
